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BILLY J. WILLIAMS, OSB #901366
United States Attorney
JARED D. HAGER, WSB #38961
Assistant United States Attorney
U.S. Attorney’s Office for the District of Oregon
1000 SW Third Avenue, Suite 600
Portland, Oregon 97204-2902
Phone: 503.727.1120
Email: jared.hager@usdoj.gov
        Attorneys for the United States


                             UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION


  TIMOTHY C. ROTE,                                     Case No. 3:19-cv-00082

                          Plaintiff,
                                                       NOTICE OF REMOVAL OF CIVIL
                                                       ACTION
  v.

  LINDA L. MARSHALL, JOEL
  CHRISTIANSEN, ANDREW
  BRANDSNESS, CAROL BERNICK,
  OREGON STATE BAR
  (PROFESSIONAL LIABILITY FUND),
  MATT KALMANSON, JANE DOE, PAM
  STENDAHL, JOHN DOES (4-5),

                          Defendants.

    PLEASE TAKE NOTICE that the civil action Rote v. Marshall, et al., Clackamas County Circuit

Court Case No. 18CV45257, is hereby removed to this Court by the United States of America pursuant

to 28 U.S.C. § 1442. The United States provides the following grounds for removal:

    1. On or about December 6, 2018, the following civil action alleging fraud (among other claims)

was filed: Timothy C. Rote v. Linda L. Marshall, et al., Clackamas County Circuit Court, State of Oregon,

Case No. 18CV45257.
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   2. Defendant Jane Doe was at all relevant times a federal employee, an official court reporter in

federal court, who was acting within the scope of her employment. See id. ¶¶ 7, 61. Her actual

identity is Nancy Walker.

   3. Pursuant to the authority delegated by the United States Attorney for the District of Oregon,

the Chief of the Civil Division of the U.S. Attorney’s Office has certified that Jane Doe / Nancy

Walker was acting within the course and scope of her federal employment at the time of the incident

out of which the Plaintiff’s claim arose. See Exhibit 1.

   4. The United States has the statutory right to remove this action to federal court. See 28 U.S.C.

§ 1442. Upon certification, the action “shall be deemed to be an action or proceeding brought against

the United States” under the Federal Torts Claims Act. 28 U.S.C. § 2679(d)(2).

   5. Therefore, the United States should be substituted as a defendant in the action in place of Jane

Doe / Nancy Walker.

   6. Accompanying this Notice of Removal of Civil Action, the United States is filing a copy of all

process, pleadings, and orders in this action as required by 28 U.S.C. § 1446(a). See Exhibit 2.

   7. A copy of this Notice of Removal of Civil Action is being served upon the Plaintiff and all

Defendants, and a copy shall be filed with the Court Clerk of Deschutes County, Oregon, as required

by 28 U.S.C. § 1446(d).



DATED this 16th day of January, 2019.

                                               BILLY J. WILLIAMS
                                               United States Attorney
                                               District of Oregon

                                               /s/ Jared D. Hager
                                               JARED D. HAGER
                                               Assistant United States Attorney
                                               Attorneys for the United States




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Removal of Civil Action was placed

in a postage prepaid envelope and deposited in the United States Mail according to established office

procedure within the office of the United States Attorney at Portland, Oregon, on January 16, 2019,

addressed to:

        Timothy C. Rote                                    Andrew Brandsness
        24790 SW Big Fir Rd.                               411 Pine Street
        West Linn OR 97068                                 Klamath Falls, OR 97601
        (503) 702-7225                                            Defendant
        tim@rote-enterprises.com
                Plaintiff Pro Se




                                              /s/ Jared D. Hager
                                              JARED D. HAGER
                                              Assistant United States Attorney




CERTIFICATE OF SERVICE
